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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROY LEE WILLIAMS,                       :     CIVIL ACTION
                                        :     NO. 21-1248
          Plaintiff,                    :
                                        :
     v.                                 :
                                        :
JOHN E. WETZEL, et al.,                 :
                                        :
          Defendants.                   :

                            J U D G M E N T

          AND NOW, this 21st day of July, 2022, in accordance

with the Court’s Order of this same date, it is hereby ORDERED

that JUDGMENT is ENTERED in favor of Defendants John E. Wetzel

and George Little and against Plaintiff Roy Lee Williams.

          The Clerk of Court shall mark the case CLOSED.



          AND IT IS SO ORDERED.

                            /s/ Eduardo C. Robreno
                            EDUARDO C. ROBRENO, J.




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